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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS




 IN RE: PHARMACEUTICAL                         )     MDL No. 1456
 INDUSTRY                                      )     Civil Action No. 01-12257-PBS
 AVERAGE WHOLESALE PRICE                       )
 LITIGATION                                    )
                                               )     Subcategory No. 06-11337-PBS
 THIS DOCUMENT RELATES TO:                     )
                                               )
 U.S. ex rel. Ven-a-Care of the Florida        )     Hon. Patti B. Saris
 Keys, Inc. v. Abbott Laboratories, Inc.       )
 No. 07-CV-11618-PBS                           )
                                               )



     DECLARATION OF C. JARRETT ANDERSON, SUBMITTING EXHIBITS
     IN SUPPORT OF PLAINTIFF VEN-A-CARE’S OPPOSITION TO ABBOTT
    LABORATORIES’ MOTION IN LIMINE TO EXCLUDE CERTAIN OPINIONS
       PROFFERED BY PLAINTIFF’S EXPERT MARK G. DUGGAN, PH.D.


       I, C. Jarrett Anderson, do hereby declare as follows:

       1.      I am a member of the Bar of the State of Texas an attorney at law in the State of

Texas and counsel for Plaintiff Ven-A-Care of the Florida Keys, Inc. (“VAC”). I am a member

in good standing of the Texas State Bar. I am admitted pro hac vice before this court.

       2.      On behalf of the Plaintiff VAC, I am submitting with this declaration Exhibits in

support of Plaintiffs’ Opposition to Abbott Laboratories’ Motion in Limine to Exclude Certain

Opinions Proffered by Plaintiff’s Expert Mark G. Duggan, Ph.D.

       3. The following exhibits are true and correct copies of the materials described

therein and submitted with this declaration:
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 Exhibit No.                                       Description
       1        10/30/09 Declaration of Mark G. Duggan, PH.D.
       2        03/27/09 Expert Report of Mark G. Duggan, PH.D.
       3        02/20/09 Deposition Transcript of April Gerzel
       4        10/29/09 Declaration of J. Kevin Gorospe, Chief of Medi-Cal Pharmacy Policy,
                California Department of Health Care Services
       5        05/05/09 Deposition Transcript of James Hughes
       6        05/06/09 Deposition Transcript of James Hughes
       7        05/13/09 Deposition Transcript of Steven Young
       8        Hughes Deposition Transcript Excerpt marked as Exhibit “1"



       I swear under the penalties of perjury that the foregoing statements are true and correct.



                                                      /s/ Jarrett Anderson
                                                      C. JARRETT ANDERSON


       Executed this 2nd day of November, 2009




        I hereby certify that I have this day caused an electronic copy of the above Declaration of
C. Jarrett Anderson, Submitting Exhibits In Support of Plaintiff Ven-a-care’s Opposition to
Abbott Laboratories’ Motion in Limine to Exclude Certain Opinions Proffered by Plaintiff’s
Expert Mark G. Duggan, PH.D. to be served on all counsel of record via electronic service
pursuant to Paragraph 11 of Case Management Order No. 2 by sending a copy to LexisNexis File
& Serve for posting and notification to all parties.


       Dated: November 2, 2009


                                                      /s/ Jarrett Anderson
                                                      C. JARRETT ANDERSON
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